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EXHIBIT “SMC-P”
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Maguite Correctional Facility
CDC - State Prison Transfers
January — October 2008

Thete is an average of 30 — 35 inmates transported to CDCR per week from MCF

Violators = Average of 15 — 17 inmates per week
New Commitments = Average of 15 — 17 inmates per week
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